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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

KAREN POOLE,                                    §
                                                §
         Plaintiff,                             §
                                                §
V.                                              §
                                                §
GULFCOAST LTC PARTNERS, INC.,                   §       CIVIL ACTION NO. 2:11-CV-00082
CORRIGAN LTC PARTNERS, INC.,                    §
BOBBY J. BERGERON, INDIVIDUALLY,                §
AND LOUIS F. NICHOLSON, III,                    §
INDIVIDUALLY,                                   §
                                                §
         Defendants.                            §

              ORDER OF DISMISSAL AND ORDER APPROVING SETTLEMENT

         Pending before the Court is the parties’ request for approval of settlement and agreed

motion to dismiss with prejudice. For due cause, it is hereby:

         ORDERED AND ADJUDGED as follows:

         1.      This Court hereby accepts and approves the parties’ settlement agreement and

holds that the settlement agreement submitted by the parties is a fair and reasonable settlement of

a bona fide dispute over claims brought under the Fair Labor Standards Act; and

         2.      The above cause is hereby DISMISSED WITH PREJUDICE to Plaintiff Karen

Poole. The parties shall bear their own costs. Any pending motions are denied as moot. This

Court shall retain jurisdiction to enforce the parties’ settlement agreement.




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 SIGNED this 19th day of December, 2011.
So ORDERED and SIGNED this 2nd day of January, 2014.




                                         ____________________________________
                                         RODNEY GILSTRAP
                                         UNITED STATES DISTRICT JUDGE




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